          Case 1:18-cv-10340-DJC Document 90 Filed 05/16/19 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

CENTRO PRESENTE, a membership             )
organization, et al.,                     )
                                          )
        Plaintiffs,                       )
                                          )
        v.                                )                   Case No. 1:18-cv-10340
                                          )
DONALD J. TRUMP, President of the United  )
States, in his official capacity, et al., )
                                          )
        Defendants.                       )
___________________________________________

                   JOINT MOTION TO CONTINUE STATUS HEARING

       The parties hereby jointly move to reschedule the Court’s status hearing currently set for

May 20, 2019, until after June 4, 2019. The parties are available on June 5, 6, 7, or 10, if any of

those dates are convenient for the Court.

       Besides the staying of depositions, the parties are still engaged in written discovery on

the Department of Homeland Security. Defendants anticipate responding to Plaintiffs’

outstanding discovery on or before June 4, 2019. The parties, therefore, believe that it would

promote judicial economy for the parties to focus on the outstanding discovery prior to appearing

before this Court to discuss any discovery-related matters.


Dated: May 16, 2019                           Respectfully submitted,

                                              JOSEPH H. HUNT
                                              Assistant Attorney General

                                              JOHN R. TYLER
                                              Assistant Branch Director

                                              /s/ Adam D. Kirschner
                                              ADAM D. KIRSCHNER
                                              IL Bar No. 6286601
                                              Senior Trial Counsel
                                              United States Department of Justice
Case 1:18-cv-10340-DJC Document 90 Filed 05/16/19 Page 2 of 3



                                  Civil Division, Federal Programs Branch
                           1100 L Street NW, Room 11020
                           Washington, DC 20530
                                  Tel.:    (202) 353-9265
                                  Fax:     (202) 616-8460
                           E-mail: adam.kirschner@usdoj.gov

                           Mailing Address:
                           Post Office Box 883
                           Washington, D.C. 20044

                           Courier Address:
                           1100 L Street NW, Room 11020
                           Washington, D.C. 20005

                                  Counsel for Defendants

                           /s/ Kevin O’Keefe
                           Eric J. Marandett (BBO# 561730)
                           Carlos J. Perez-Albuerne (BBO# 640446)
                           Kevin P. O’Keefe (BBO# 697101)
                           Xing-Yin Ni (BBO# 693876)
                           Leah R. Milbauer (BBO# 703717)
                           Margaret J. Burnside (BBO# 698763)
                           Allison S. Ercolano (BBO# 698601)
                           Natalia Smychkovich (BBO# 699289)
                           Anna S. Roy (BBO# 703884)
                           Choate, Hall & Stewart LLP
                           Two International Place
                           Boston, Massachusetts 02110
                           (617) 248-5000

                           Oren Sellstrom (BBO# 569045)
                           Oren Nimni (BBO #691821)
                           Iván Espinoza-Madrigal (Admitted Pro Hac Vice)
                           Lawyers for Civil Rights
                           61 Batterymarch Street, 5th Floor
                           Boston, Massachusetts 02110
                           (617) 988-0624

                                  Counsel for Plaintiffs




                              2
         Case 1:18-cv-10340-DJC Document 90 Filed 05/16/19 Page 3 of 3



                               CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the Court’s CM/ECF system will be
served electronically on the registered participants as identified on the NEF.

                                                                         /s/ Adam Kirschner




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